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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

United States of America,
                                             Criminal No. 19-cr-20738
                   Plaintiff,
vs.                                          Honorable Bernard A. Friedman

Joseph Ashton,

               Defendant.
_____________________________/


                 PRELIMINARY ORDER OF FORFEITURE

      The United States filed an Application for Entry of Preliminary Order of

Forfeiture based on the terms of Defendant’s Rule 11 Plea Agreement (“Rule 11”),

Defendant’s guilty plea to Counts One (18 U.S.C. § 1349) and Two (18 U.S.C. §

1956(h)) of the Information, and the record in this case. The Government’s

Application is hereby granted.

      Under Rule 32.2 of the Federal Rules of Criminal Procedure, 18 U.S.C.

§ 981(a)(1)(C) together with 28 U.S.C. § 2461(c), 18 U.S.C. § 982(a)(1), and

based on Defendant’s Rule 11 and guilty plea, the government’s Application for

Entry of Preliminary Order of Forfeiture, and the information in the record, IT IS

HEREBY ORDERED AND ADJUDGED THAT:

1.    Defendant, Joseph Ashton, shall forfeit to the United States his interest in

      any and all property, real or personal, which constitutes or is derived from
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     proceeds traceable to his participation in the described honest services wire

     fraud conspiracy under 18 U.S.C. § 981(a)(1)(C) together with 28 U.S.C.

     § 2461(c).

2.   Defendant shall forfeit to the United States his interest in any property, real

     or personal, involved in or traceable to the money laundering conspiracy

     under 18 U.S.C. § 982(a)(1).

3.   A forfeiture money judgment in the amount of $250,000.00, is granted and

     entered against Defendant in favor of the United States of America. The

     Court finds that Defendant obtained at least $250,000.00 in criminal

     proceeds as a result of bribe payments and that he engaged in monetary

     transactions with the bribes he received to conceal the nature of the funds.

4.   To satisfy the money judgment, any assets that Defendant has now, or may

     later acquire, may be forfeited as substitute assets under 21 U.S.C.

     § 853(p)(2). The United States is permitted to undertake whatever discovery

     is necessary to identify, locate, or dispose of property subject to forfeiture, or

     substitute assets under Federal Rule of Criminal Procedure 32.2(b)(3).

5.   This Preliminary Order of Forfeiture shall become final at sentencing and

     entry of the forfeiture money judgment shall be made part of Defendant’s

     sentence and included in the Judgment, and shall not be the subject of




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     ancillary proceedings given that the forfeiture consists entirely of a money

     judgment.

6.   The Court retains jurisdiction to enforce this Order, and to amend it as

     necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).


IT IS SO ORDERED.

                                         s/Bernard A. Friedman
                                         Bernard A. Friedman
                                         Senior United States District Judge
Dated: March 30, 2020
       Detroit, Michigan




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